70 F.3d 1263
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Grace Margaret BIDMEAD, a/k/a Grace Barton, a/k/a AprilGriffin, a/k/a Ruth Anne Morgan, a/k/a Jamie Hart,a/k/a Kelly Griffin, Defendant-Appellant.
    No. 95-6876.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  November 16, 1995.Decided:  November 30, 1995.
    
      Grace Margaret Bidmead, Appellant Pro Se.  Thomas More Hollenhorst, Assistant United States Attorney, Alexandria, VA, for Appellee.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying her motion for a reduction of her term of supervised release.  We have reviewed the record and the district court's opinion and find no abuse of discretion and no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Bidmead, No. CR-92-403-A (E.D.Va. Apr. 24, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    